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 8                        UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10                                 WESTERN DIVISION
11

12    MOSAFER INC.; MOSAFER E-               CASE NO.: 2:21-cv-06320-MCS-JC
      COM, INC.; AND GOMOSAFER
13
                                             DEFENDANT GEORGE NADER’S
                          Plaintiffs,
14                                           NOTICE OF INTERESTED PARTIES
                  v.                         (L.R. 7.1-1)
15
      ELLIOT BROIDY; GEORGE
16    NADER; BROIDY CAPITAL
      MANAGEMENT, LLC;
17    CIRCINUS, LLC; THE IRON
      GROUP INC. D/B/A/
18    IRONISTIC.COM; SCL SOCIAL
      LIMITED; PROJECT
19    ASSOCIATES UK LTD;
      MATTHEW ATKINSON; AND
20    JOHN DOES 1-100,
21                      Defendants.
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              DEFENDANT GEORGE NADER'S NOTICE OF INTERESTED PARTIES
     Case 2:21-cv-06320-MCS-JC Document 62 Filed 11/01/21 Page 2 of 3 Page ID #:545



 1          Pursuant to Rule 7.1-1 of the Local Rules of the Central District of
 2    California, the undersigned, counsel of record for Defendant George Nader,
 3    certify that the following listed parties may have a pecuniary interest in the
 4    outcome of this case. These representations are made to enable the Court to
 5    evaluate possible disqualification or recusal.
 6          •      Mosafer Inc.;
 7          •      Mosafer E-Com, Inc.;
 8          •      GoMosafer;
 9          •      Elliott Broidy;
10          •      George Nader;
11          •      Broidy Capital Management, LLC;
12          •      Circinus, LLC;
13          •      Iron Group Inc. d/b/a Ironistic.com;
14          •      SCL Social Limited;
15          •      Project Associates UK Ltd;
16          •      Matthew Atkinson
17

18
      Dated: November 1, 2021                 ANTONI ALBUS, LLP
19
                                       By:     /s/ John Antoni
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                DEFENDANT GEORGE NADER'S NOTICE OF INTERESTED PARTIES
     Case 2:21-cv-06320-MCS-JC Document 62 Filed 11/01/21 Page 3 of 3 Page ID #:546



 1                             CERTIFICATE OF SERVICE
 2          I certify that, on November 1, 2021, I electronically filed the foregoing with
 3    the Clerk of the Court using the CM/ECF system, which will send notice to all
 4    counsel of record.
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 6
                                             /s/ John Antoni

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                                  CERTIFICATE OF SERVICE
